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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                            Alexandria Division


  IN RE APPLICATION OF JOESLEY
  MENDONCA BATISTA,WESLEY
  MENDONCA BATISTA,FRANCISCO
  DE ASSIS E SILVA,AND RICARDO                                     Case No. l:19-nic-04
  SAUD FOR AN ORDER TO TAKE
  DISCOVERY FOR USE IN FOREIGN
  PROCEEDINGS PURSUANT TO 28
  U.S.C.§ 1782

                                                   ORDER


         This matter is before the Court on petitioners' Ex Parte Emergency Application and

 Petition for an Order to Conduct Expedited Discovery for Use in Foreign Proceedings Pursuant to

 28 U.S.C. § 1782 ('the Application") (Dkt. 1) and Baker & McKenzie LLP's ("intervenor")

 Motion for Leave to Intervene(Dkt. 9). Oral argument was held on the Application and the Motion

 for Leave to Intervene on March 1, 2019. Counsel for petitioners, for intervenor, and for Joan

 Meyer("respondent")' were all present at the hearing.

                                                       1.


         In its motion, intervenor argues that its request to intervene in this proceeding to challenge

 petitioners' Application isjustified both because intervenor has standing under § 1782 and because

 Rule 24,Fed. R. Civ. P., permits intervention in these circumstances.

         Intervenor first argues that it has standing to intervene because petitioners seek to discover

 information that is related to pending domestic litigation by petitioners against intervenor. Courts

 have concluded that a "part[y] against whom the requested information will be used . . . has

 standing to challenge the issuance of § 1782 subpoenas under the Rules of Civil Procedure and



'Respondent is represented in this matter by Thomas G. Connolly of Harris, Wiltshire & Grannis LLP.

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